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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        11                                                               Invoice For    Texas DFPS/HHSC
Issue Date        07/08/2020

Due Date          08/07/2020 (Net 30)

Subject           Texas Appleseed Monitoring Team; June 2020




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Monitoring (06/01/2020 - 06/30/2020)             1,622.23            $279.78           $453,860.40


                                                                                                 Amount Due            $453,860.40




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                                 INVOICE
                                                                                        From     Texas Appleseed
                                                                                                 1609 Shoal Creek Blvd
                                                                                                 Ste 201
                                                                                                 Austin, TX 78701




Invoice ID       11                                                                Invoice For   Texas DFPS/HHSC
Issue Date       07/08/2020

Due Date         07/08/2020 (upon receipt)

Subject          Texas Appleseed Monitoring Team; June 2020




Item Type        Description                                                          Quantity         Unit Price          Amount

Service          Texas Foster Care Monitoring - 06/01/2020 - Document                    6.50           $325.00          $2,112.50
                 Review/Data Analysis/Verification Work / Clarice Rogers


Service          Texas Foster Care Monitoring - 06/01/2020 - Report and                  9.00           $395.00          $3,555.00
                 Document Preparation / Linda Brooke


Service          Texas Foster Care Monitoring - 06/01/2020 - Project                     1.33           $395.00           $525.35
                 Management & Planning / Linda Brooke


Service          Texas Foster Care Monitoring - 06/01/2020 - Meetings with               0.75           $395.00           $296.25
                 agency leadership, staff, clients, conference calls, time spent
                 with team, plaintiffs consultants or other providers. / Linda
                 Brooke


Service          Texas Foster Care Monitoring - 06/01/2020 - Document                   10.75           $325.00          $3,493.75
                 Review/Data Analysis/Verification Work / Nancy Arrigona


Service          Texas Foster Care Monitoring - 06/01/2020 - Report and                  8.00           $250.00          $2,000.00
                 Document Preparation / Veronica Lockett-Villalpando


Service          Texas Foster Care Monitoring - 06/01/2020 - Report and                  5.50           $395.00          $2,172.50
                 Document Preparation / Beth Mitchell


Service          Texas Foster Care Monitoring - 06/01/2020 - Meetings with               1.00           $395.00           $395.00
                 agency leadership, staff, clients, conference calls, time spent
                 with team, plaintiffs consultants or other providers. / Beth
                 Mitchell




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Service       Texas Foster Care Monitoring - 06/01/2020 - Report and                1.75   $425.00    $743.75
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/01/2020 - Report and                1.50   $425.00    $637.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/01/2020 - Meetings with             1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/01/2020 - Project                   6.50   $250.00   $1,625.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/01/2020 - Meetings with             1.00   $200.00    $200.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/01/2020 - Document                  7.75   $200.00   $1,550.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/01/2020 - Meetings with             0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 06/01/2020 - Document                  7.50   $250.00   $1,875.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/02/2020 - Report and                8.56     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/02/2020 - Document                 11.75   $325.00   $3,818.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/02/2020 - Project                   2.00   $395.00    $790.00
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/02/2020 - Meetings with             1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/02/2020 - Report and                9.00   $395.00   $3,555.00
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/02/2020 - Report and                8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/02/2020 - Document                  7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Clarice Rogers




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Service       Texas Foster Care Monitoring - 06/02/2020 - Report and               6.83   $395.00   $2,697.85
              Document Preparation / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/02/2020 - Meetings with            1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/02/2020 - Report and               6.00   $425.00   $2,550.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/02/2020 - Report and               1.50   $425.00    $637.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/02/2020 - Meetings with            0.75   $250.00    $187.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/02/2020 - Project                  8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/02/2020 - Document                 9.50   $200.00   $1,900.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/02/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                 0.74   $300.00    $222.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                 0.39   $300.00    $117.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                 9.75   $325.00   $3,168.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/03/2020 - Report and               8.00   $395.00   $3,160.00
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/03/2020 - Project                  2.00   $395.00    $790.00
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/03/2020 - Report and               8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                 7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Clarice Rogers




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Service       Texas Foster Care Monitoring - 06/03/2020 - Report and                7.25   $395.00   $2,863.75
              Document Preparation / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/03/2020 - Report and                6.00   $425.00   $2,550.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/03/2020 - Report and                2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/03/2020 - Project                   8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                  8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/03/2020 - Document                  8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/04/2020 - Document                  0.33   $300.00     $99.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/04/2020 - Document                 12.75   $325.00   $4,143.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                7.58   $395.00   $2,994.10
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/04/2020 - Project                   2.00   $395.00    $790.00
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/04/2020 - Document                  7.25   $325.00   $2,356.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                7.70   $395.00   $3,041.50
              Document Preparation / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/04/2020 - Report and                1.50   $425.00    $637.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/04/2020 - Meetings with             0.33   $250.00     $82.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price




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Service       Texas Foster Care Monitoring - 06/04/2020 - Project                   7.67   $250.00   $1,917.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/04/2020 - Document                 10.00   $200.00   $2,000.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/04/2020 - Document                  1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/05/2020 - Report and                8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/05/2020 - Meetings with             1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/05/2020 - Document                  1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/05/2020 - Document                  5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/05/2020 - Report and                7.33   $395.00   $2,895.35
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/05/2020 - Document                  6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/05/2020 - Report and                8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/05/2020 - Meetings with             1.50   $250.00    $375.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/05/2020 - Project                   7.00   $250.00   $1,750.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/05/2020 - Meetings with             1.00   $200.00    $200.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/05/2020 - Document                  6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/06/2020 - Report and                7.00   $425.00   $2,975.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/07/2020 - Report and                6.00   $425.00   $2,550.00
              Document Preparation / Deborah Fowler



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Service       Texas Foster Care Monitoring - 06/08/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/08/2020 - Report and               8.50   $395.00   $3,357.50
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/08/2020 - Project                  2.67   $395.00   $1,054.65
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/08/2020 - Report and               6.00   $425.00   $2,550.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/08/2020 - Report and               6.00   $250.00   $1,500.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/08/2020 - Meetings with            0.42   $250.00    $105.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Veronica
              Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/08/2020 - Document                 9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/08/2020 - Meetings with            1.00   $200.00    $200.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/08/2020 - Document                 7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/08/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/08/2020 - Meetings with            0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/08/2020 - Project                  7.33   $250.00   $1,832.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/08/2020 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/09/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/09/2020 -                          0.52   $300.00    $156.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus




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Service       Texas Foster Care Monitoring - 06/09/2020 - Report and               4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/09/2020 - Meetings with            0.42   $425.00    $178.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/09/2020 - Report and               6.42   $395.00   $2,535.90
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/09/2020 - Meetings with            1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/09/2020 - Report and               8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 8.75   $325.00   $2,843.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/09/2020 - Meetings with            2.17   $250.00    $542.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/09/2020 - Project                  5.83   $250.00   $1,457.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/09/2020 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/10/2020 - Report and               3.00   $425.00   $1,275.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/10/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/10/2020 - Report and               5.00   $395.00   $1,975.00
              Document Preparation / Linda Brooke



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Service       Texas Foster Care Monitoring - 06/10/2020 - Project                   3.50   $395.00   $1,382.50
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/10/2020 - Report and                8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/10/2020 - Document                  9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/10/2020 - Report and                2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/10/2020 - Document                  9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/10/2020 - Meetings with             1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/10/2020 - Document                  8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/10/2020 - Project                   6.75   $250.00   $1,687.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/10/2020 - Meetings with             1.33   $250.00    $332.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/10/2020 - Document                  8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/10/2020 - Document                  8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/11/2020 - Report and                8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/11/2020 - Report and               11.00   $250.00   $2,750.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with             0.58   $250.00    $145.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Veronica
              Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/11/2020 - Report and                2.33   $395.00    $920.35
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/11/2020 - Project                   2.83   $395.00   $1,117.85
              Management & Planning / Linda Brooke



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Service       Texas Foster Care Monitoring - 06/11/2020 - Document                 2.25   $395.00    $888.75
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            0.58   $425.00    $246.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            0.17   $425.00     $72.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/11/2020 - Report and               2.00   $425.00    $850.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/11/2020 - Project                  3.25   $325.00   $1,056.25
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/11/2020 - Document                 2.00   $325.00    $650.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 06/11/2020 - Document                 7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            2.00   $200.00    $400.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/11/2020 -                          1.00   $200.00    $200.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Cassie Davis


Service       Texas Foster Care Monitoring - 06/11/2020 - Document                 5.00   $200.00   $1,000.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/11/2020 - Meetings with            0.50   $250.00    $125.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price




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Service       Texas Foster Care Monitoring - 06/11/2020 - Project               7.50   $250.00   $1,875.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/11/2020 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/11/2020 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/12/2020 - Meetings with         2.50   $425.00   $1,062.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/12/2020 - Report and            5.00   $425.00   $2,125.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/12/2020 - Report and            1.00   $425.00    $425.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/12/2020 - Report and            5.50   $395.00   $2,172.50
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/12/2020 - Meetings with         1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/12/2020 - Document              1.67   $395.00    $659.65
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/12/2020 - Project               2.33   $395.00    $920.35
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/12/2020 - Document              8.25   $325.00   $2,681.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/12/2020 - Document              6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/12/2020 - Meetings with         1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/12/2020 - Report and            2.50   $395.00    $987.50
              Document Preparation / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/12/2020 - Meetings with         1.50   $200.00    $300.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


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Service       Texas Foster Care Monitoring - 06/12/2020 - Document                 6.50   $200.00   $1,300.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/12/2020 - Meetings with            0.75   $250.00    $187.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/12/2020 - Project                  7.00   $250.00   $1,750.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/12/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/12/2020 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/13/2020 - Report and               8.50   $425.00   $3,612.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/13/2020 - Document                 0.75   $325.00    $243.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/14/2020 - Report and               5.50   $425.00   $2,337.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/15/2020 - Report and               7.42   $395.00   $2,930.90
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/15/2020 - Document                 1.75   $395.00    $691.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/15/2020 - Project                  1.58   $395.00    $624.10
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/15/2020 - Project                  8.00     $0.00      $0.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/15/2020 - Document                 8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/15/2020 - Meetings with            0.42   $425.00    $178.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/15/2020 - Report and               4.00   $425.00   $1,700.00
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/15/2020 - Document                 1.50   $425.00    $637.50
              Review/Data Analysis/Verification Work / Deborah Fowler




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Service       Texas Foster Care Monitoring - 06/15/2020 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/15/2020 - Document               8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/15/2020 - Meetings with          1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/15/2020 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/15/2020 - Project                8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/15/2020 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/15/2020 - Document               0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/15/2020 - Project                2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/15/2020 - Document               6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/16/2020 - Project                8.00     $0.00      $0.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/16/2020 - Report and             2.17   $395.00    $857.15
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/16/2020 - Meetings with          2.50   $395.00    $987.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/16/2020 - Project                2.67   $395.00   $1,054.65
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/16/2020 - Document               1.83   $395.00    $722.85
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/16/2020 - Document              10.50   $325.00   $3,412.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/16/2020 - Report and             0.50   $425.00    $212.50
              Document Preparation / Deborah Fowler



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Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 1.75   $425.00    $743.75
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/16/2020 - Meetings with            0.58   $425.00    $246.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/16/2020 - Meetings with            1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/16/2020 -                          2.00   $200.00    $400.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Cassie Davis


Service       Texas Foster Care Monitoring - 06/16/2020 - Meetings with            1.00   $200.00    $200.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 5.00   $200.00   $1,000.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/16/2020 - Meetings with            0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/16/2020 - Project                  7.33   $250.00   $1,832.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/16/2020 - Project                  2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/16/2020 - Document                 6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/17/2020 - Meetings with            0.33   $425.00    $140.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


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Service       Texas Foster Care Monitoring - 06/17/2020 - Meetings with         0.17   $425.00     $72.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              9.50   $325.00   $3,087.50
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/17/2020 - Project               7.67   $395.00   $3,029.65
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              2.08   $395.00    $821.60
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              8.75   $325.00   $2,843.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/17/2020 - Report and            8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              3.50   $395.00   $1,382.50
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/17/2020 - Meetings with         1.25   $200.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              6.75   $200.00   $1,350.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/17/2020 - Project               8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/17/2020 - Meetings with         1.25   $250.00    $312.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 06/17/2020 - Document              6.75   $250.00   $1,687.50
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/17/2020 - Project               2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez




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Service       Texas Foster Care Monitoring - 06/17/2020 - Document                 6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 9.75   $325.00   $3,168.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/18/2020 - Report and               8.00   $250.00   $2,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 9.75   $395.00   $3,851.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/18/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 3.25   $395.00   $1,283.75
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/18/2020 - Meetings with            0.50   $395.00    $197.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/18/2020 - Meetings with            4.00   $200.00    $800.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 5.00   $200.00   $1,000.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/18/2020 - Project                  7.00   $250.00   $1,750.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/18/2020 - Meetings with            1.25   $250.00    $312.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/18/2020 - Project                  2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/18/2020 - Document                 6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/19/2020 - Report and               8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar



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Service       Texas Foster Care Monitoring - 06/19/2020 - Project                2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/19/2020 - Document               6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/21/2020 - Document               0.78   $300.00    $234.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 06/21/2020 - Report and             4.00   $250.00   $1,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/22/2020 -                        5.00     $0.00      $0.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Anna Farr


Service       Texas Foster Care Monitoring - 06/22/2020 - Report and             8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/22/2020 - Report and            12.00   $250.00   $3,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/22/2020 - Document               4.75   $395.00   $1,876.25
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/22/2020 - Meetings with          0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/22/2020 - Project                1.92   $395.00    $758.40
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/22/2020 - Report and             2.75   $395.00   $1,086.25
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/22/2020 - Document               1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/22/2020 - Document               4.00   $425.00   $1,700.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/22/2020 - Meetings with          0.75   $395.00    $296.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/22/2020 - Meetings with          5.25   $200.00   $1,050.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis



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Service       Texas Foster Care Monitoring - 06/22/2020 - Document                  3.75   $200.00    $750.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/22/2020 - Project                   7.17   $250.00   $1,792.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/22/2020 - Meetings with             0.83   $250.00    $207.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/22/2020 - Project                   4.50   $325.00   $1,462.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/22/2020 - Document                  3.75   $325.00   $1,218.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/22/2020 - Meetings with             0.75   $250.00    $187.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 06/22/2020 - Document                  7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/22/2020 - Project                   2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/22/2020 - Document                  6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/23/2020 -                           4.00     $0.00      $0.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Anna Farr


Service       Texas Foster Care Monitoring - 06/23/2020 -                           0.68   $300.00    $204.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Robert McManus


Service       Texas Foster Care Monitoring - 06/23/2020 - Report and               12.00   $250.00   $3,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  4.67   $395.00   $1,844.65
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/23/2020 - Report and                3.43   $395.00   $1,354.85
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/23/2020 - Project                   0.67   $395.00    $264.65
              Management & Planning / Linda Brooke




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Service       Texas Foster Care Monitoring - 06/23/2020 - Report and                8.00     $0.00      $0.00
              Document Preparation / Adrian Gaspar


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  9.25   $325.00   $3,006.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  2.25   $395.00    $888.75
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  1.50   $200.00    $300.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  6.00   $200.00   $1,200.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/23/2020 - Meetings with             0.67   $250.00    $167.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/23/2020 - Project                   7.33   $250.00   $1,832.50
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/23/2020 - Project                   4.00   $325.00   $1,300.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/23/2020 - Project                   2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/23/2020 - Document                  6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/24/2020 -                           6.00     $0.00      $0.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Anna Farr


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with             2.00   $425.00    $850.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 06/24/2020 - Report and               10.00   $250.00   $2,500.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                  5.75   $395.00   $2,271.25
              Review/Data Analysis/Verification Work / Linda Brooke



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Service       Texas Foster Care Monitoring - 06/24/2020 - Report and               1.33   $395.00    $525.35
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            2.08   $395.00    $821.60
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                 8.25   $325.00   $2,681.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            1.15   $395.00    $454.25
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Beth
              Mitchell


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                 2.25   $395.00    $888.75
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            6.25   $200.00   $1,250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                 1.50   $200.00    $300.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/24/2020 - Project                  3.00   $325.00    $975.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                 3.25   $325.00   $1,056.25
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            2.00   $250.00    $500.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


Service       Texas Foster Care Monitoring - 06/24/2020 - Document                 6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            2.00   $250.00    $500.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 06/24/2020 - Meetings with            6.00   $250.00   $1,500.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shay Price


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Service       Texas Foster Care Monitoring - 06/24/2020 - Project               2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/24/2020 - Document              6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/25/2020 -                       6.00     $0.00      $0.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Anna Farr


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              0.50   $425.00    $212.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/25/2020 - Report and            0.50   $425.00    $212.50
              Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              2.75   $395.00   $1,086.25
              Review/Data Analysis/Verification Work / Beth Mitchell


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              9.75   $325.00   $3,168.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/25/2020 - Meetings with         1.00   $200.00    $200.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Cassie
              Davis


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              2.50   $395.00    $987.50
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              3.82   $395.00   $1,508.90
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/25/2020 - Project               3.08   $395.00   $1,216.60
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/25/2020 - Project               2.50   $325.00    $812.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              4.50   $325.00   $1,462.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/25/2020 - Report and            4.00   $250.00   $1,000.00
              Document Preparation / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/25/2020 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody




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Service       Texas Foster Care Monitoring - 06/25/2020 - Project        8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/25/2020 - Project        2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/25/2020 - Document       6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       7.25   $200.00   $1,450.00
              Review/Data Analysis/Verification Work / Cassie Davis


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       1.50   $425.00    $637.50
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       7.25   $325.00   $2,356.25
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/26/2020 - Report and     4.25   $395.00   $1,678.75
              Document Preparation / Linda Brooke


Service       Texas Foster Care Monitoring - 06/26/2020 - Project        3.58   $395.00   $1,414.10
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       1.33   $395.00    $525.35
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       6.50   $325.00   $2,112.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/26/2020 - Project        2.50   $325.00    $812.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/26/2020 - Project        8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/26/2020 - Project        2.00   $325.00    $650.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/26/2020 - Document       6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/28/2020 - Document       7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/28/2020 - Document       5.00   $425.00   $2,125.00
              Review/Data Analysis/Verification Work / Deborah Fowler




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Service       Texas Foster Care Monitoring - 06/29/2020 -                        1.00   $425.00    $425.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Deborah Fowler


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 06/29/2020 - Project                7.00   $250.00   $1,750.00
              Management & Planning / Veronica Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/29/2020 - Project                8.00   $250.00   $2,000.00
              Management & Planning / Shay Price


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               3.83   $395.00   $1,512.85
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 06/29/2020 - Project                2.58   $395.00   $1,019.10
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/29/2020 - Project                2.33   $395.00    $920.35
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               8.75   $325.00   $2,843.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 06/29/2020 - Document               4.00   $325.00   $1,300.00
              Review/Data Analysis/Verification Work / Viveca Martinez


Service       Texas Foster Care Monitoring - 06/30/2020 - Meetings with          0.58   $250.00    $145.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 06/30/2020 - Document               7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 06/30/2020 - Meetings with          1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Veronica
              Lockett-Villalpando


Service       Texas Foster Care Monitoring - 06/30/2020 - Document               3.00   $250.00    $750.00
              Review/Data Analysis/Verification Work / Veronica Lockett-
              Villalpando




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Service           Texas Foster Care Monitoring - 06/30/2020 - Meetings with              0.67            $250.00               $167.50
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Shay Price


Service           Texas Foster Care Monitoring - 06/30/2020 - Project                    7.33            $250.00             $1,832.50
                  Management & Planning / Shay Price


Service           Texas Foster Care Monitoring - 06/30/2020 - Meetings with              0.75            $425.00               $318.75
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


Service           Texas Foster Care Monitoring - 06/30/2020 - Meetings with              0.67            $425.00               $284.75
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Deborah
                  Fowler


Service           Texas Foster Care Monitoring - 06/30/2020 - Document                   0.50            $425.00               $212.50
                  Review/Data Analysis/Verification Work / Deborah Fowler


Service           Texas Foster Care Monitoring - 06/30/2020 - Document                   6.08            $395.00             $2,401.60
                  Review/Data Analysis/Verification Work / Linda Brooke


Service           Texas Foster Care Monitoring - 06/30/2020 - Meetings with              0.67            $395.00               $264.65
                  agency leadership, staff, clients, conference calls, time spent
                  with team, plaintiffs consultants or other providers. / Linda
                  Brooke


Service           Texas Foster Care Monitoring - 06/30/2020 - Project                    2.33            $395.00               $920.35
                  Management & Planning / Linda Brooke


Service           Texas Foster Care Monitoring - 06/30/2020 - Document                   9.50            $325.00             $3,087.50
                  Review/Data Analysis/Verification Work / Clarice Rogers


Service           Texas Foster Care Monitoring - 06/30/2020 - Document                   8.00            $325.00             $2,600.00
                  Review/Data Analysis/Verification Work / Nancy Arrigona


Service           Texas Foster Care Monitoring - 06/30/2020 - Document                   4.00            $325.00             $1,300.00
                  Review/Data Analysis/Verification Work / Viveca Martinez


                                                                                                 Amount Due            $453,860.40




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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